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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

G.T., by and through next friend                )
LILIANA T. HANLON, et al., individually )
and on behalf of all others similarly situated, )
                                                )
                       Plaintiffs,              )   Case No. 1:21-cv-04976
               v.                               )
                                                )   Hon. Nancy L. Maldonado
SAMSUNG ELECTRONICS AMERICA, )
INC., et al.,                                   )
                                                )
                       Defendants.              )

                    PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                NOTICE OF SUPPLEMENTAL AUTHORITY (ECF NO. 75)




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         Plaintiffs submit this response to ECF No. 75. Zellmer v. Meta Platforms, Inc., 2024 U.S.

App. LEXIS 14619 (9th Cir. June 17, 2024) and Martell v. X Corp., 2024 U.S. Dist. LEXIS 105610

(N.D. Ill. June 13, 2024) are irreconcilable with Rosenbach v. Six Flags Entm’t Corp., 129 N.E.3d

1197, 1204 (Ill. 2019) as they conflict with BIPA’s plain language, and they violate Illinois’ rules

of statutory construction those courts (and this Court) are required to follow.

         “Because the question . . . involves the interpretation of an Illinois statute, [the Court must]

apply Illinois’s rules of statutory construction.” Zahn v. N. Am. Power & Gas, LLC, 815 F.3d

1082, 1089 (7th Cir. 2016). Under those rules, “[w]hen a term is defined within a statute, that term

must be construed by applying the statutory definition provided by the legislature.” People v.

Fiveash, 39 N.E.3d 924, 928 (Ill. 2015); People v. Chenoweth, 25 N.E.3d 612, 617 (Ill. 2015)

(same). Furthermore, the Illinois Supreme Court has already held under BIPA a court “may not

depart from the law’s terms by reading into it exceptions, limitations, or conditions the legislature

did not express, nor may [a court] add provisions not found in the law.” Rosenbach at 1204.

         Yet this is what Zellmer and Martell have done as the legislature in BIPA already provided

a definition of “biometric identifier” which expressly states the phrase includes six specific items:

         “Biometric identifier” means a retina or iris scan, fingerprint, voiceprint, or scan of
         hand or face geometry.

740 ILCS 14/10. No part of the definition even arguably states any of the items listed must be

capable of being used by the defendant or others to identify a person by name or otherwise. As

such, Illinois’ rules of construction quoted above allow for only one conclusion—each item

expressly listed in the definition is a “biometric identifier” even absent allegations or proof that

the defendant (or anyone else) can (or actually did) use the item to identify a person.1



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  Thus, Plaintiffs’ allegations Samsung captured scans of their face geometry adequately plead a “biometric
identifier” was involved. See Consol. Am. Compl. ¶¶ 4, 7, 53 55, 57 (ECF No. 50).

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         Other Illinois rules of construction and BIPA provisions independently compel the same

interpretation. “It is well settled that when the legislature uses certain language in one instance of

a statute and different language in another part, [courts] assume different meanings were intended.”

People v. Goossens, 39 N.E.3d 956, 959 (Ill. 2015); Ill. State Treasurer v. Ill. Workers' Comp.

Comm'n, 30 N.E.3d 288, 296 (Ill. 2015) (same). More self-evidently, courts must “assume that

the legislature intended . . . limitations to certain conditions when it expressly provided that

limitation, while at the same time, the legislature did not intend such limitations when the language

is absent.” Goossens, 39 N.E.3d at 959.

         Here, BIPA includes other definitions that expressly provide the very limitations Zellmer

and Martell improperly add to the “biometric identifier” definition which omits those limitations:

         “Biometric information” means any information, regardless of how it is captured,
         converted, stored, or shared, based on an individual’s biometric identifier used to
         identify an individual. . . .

         “Confidential and sensitive information” means personal information that can be
         used to uniquely identify an individual or an individual’s account or property.

740 ILCS 14/10 (emphasis added). Under Illinois’ rules of construction, the legislature’s inclusion

of the italicized language in those definitions but omission of it from the definition of biometric

identifier demonstrates it is simply not a requirement for a biometric identifier.2

         Not surprisingly, the courts which have followed Illinois’ rules of statutory construction

quoted above in interpreting “biometric identifier” all conclude the interpretation in Zellmer and

Martell is untenable. See Sheppard v. Fantasia Trading LLC, 2024 U.S. Dist. LEXIS 76761, at


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  Plaintiffs adequately plead Samsung collected “biometric information” by alleging it converted the scan
of each person’s face geometry into a mathematical representation (i.e. Face Template) of the person’s face
that Samsung then used to identify the person among the sea of people in the hundreds or thousands of Face
Templates Samsung stored in each person’s Gallery App. See Consol. Am. Compl. ¶¶ 4-5, 53, 55-56 (ECF
No. 50). What Samsung’s software did is no different than a witness “identifying” a suspect in a police
lineup. Further, the biometric information need not be used to identify a person by name as the definition
of “biometric information” contains no such limitation. See 740 ILCS 14/10.

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*19-21 (C.D. Cal. Apr. 25, 2024) (relying on rules of construction from/identical to Fiveash,

Goossens, and Ill. State Treasurer and “BIPA’s omission of the phrase ‘used to identify’ in its

definition of biometric identifier, but its inclusion in the definition of biometric information”);

Colombo v. Youtube, LLC, 679 F. Supp. 3d 940, 944-45 (N.D. Cal. 2023) (same, relying on rules

from/identical to Fiveash to conclude “ignor[ing] the definition of ‘biometric identifier’ supplied

by the Illinois legislature in favor of a single-minded focus on the word ‘identifier’ is

misdirected”); Melzer v. Johnson & Johnson Consumer Inc., 2023 U.S. Dist. LEXIS 73039, at *8-

10 (D.N.J. Apr. 26, 2023) (relying on rule identical to Goossens and Ill. State Treasurer and

“omission of the ‘used to identify’ condition in the ‘biometric identifier’ definition”).

         Also not surprisingly, Zellmer and Martell ignore Illinois’ rules of statutory construction

discussed above and the legislature’s definition of “biometric identifier,” just as Samsung does.

See ECF No. 64 at 16 of 22 (citing only BIPA § 5(c), not § 10 containing all definitions).

         Zellmer relied instead on federal rules of construction that violate those Illinois rules. See

Zellmer, 2024 U.S. App. LEXIS 14619 at *13-16 (relying on rule from Bond v. United States, 572

U.S. 844, 861 (2014) that, in construing a federal statute, “it is not unusual to consider the ordinary

meaning of a defined term,” ignoring legislature’s “biometric identifier” definition and construing

only “ordinary meaning of ‘identifier,’” also relying on other Supreme Court cases applying

federal rules of construction).     Zellmer also incorrectly reasoned inclusion of the language

italicized above in the definitions of “biometric information” and “confidential and sensitive

information” actually supports a conclusion that the “biometric identifier” definition shares those

same requirements—despite the legislature intentionally omitting them from the “biometric

identifier” definition. See Zellmer, 2024 U.S. App. LEXIS 14619 at *15 (relying on federal rule

of construction from Almendarez-Torres v. United States, 523 U.S. 224, 228 (1998), baselessly



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asserting same rule applies in Illinois and citing Illinois case offering no support for proposition).

         Similarly, Martell does not apply or mention Illinois’ rules of construction. See Martell,

2024 U.S. Dist. LEXIS 105610 at *9-14. Instead, the court reasoned since the statutorily-defined

phrase “biometric identifier” “includes the word identifier,” it should rely on a dictionary

definition of the word “identifier” while ignoring the statute explicitly defines what “biometric

identifier.” See id. at *10-11. Martell also reasoned that, without the “capable of identifying”

requirement, the biometric identifier definition “would contravene the very purpose of BIPA”

because, “[i]f a face geometry scan could not identify an individual, how could a business provide

the individual with notice and obtain their consent?” Id. at *11. Yet the notion that an entity

cannot make disclosures to obtain consent from a user without first identifying them using a scan

of face geometry misunderstands the fact BIPA requires consent to be obtained before capturing

one’s biometrics. Thus, the added requirement the biometric identifier must identify the individual

not only adds an improper limitation the legislature omitted from the definition, but it also conflicts

with the core provision that consent must be obtained first. This violates additional Illinois rules

of statutory construction. See 740 ILCS 14/15(b) (providing disclosures and consent must occur

“first” in relation to capturing scan of face geometry); Dawkins v. Fitness Int’l, LLC, 210 N.E.3d

1184, 1193-94 (Ill. 2022) (courts must avoid a construction “that ‘would lead to real-world results

. . . the legislature could not have intended’”).

         In sum, Zellmer and Martell are analytically unsound because both—just like all of the

other opinions espousing Samsung’s proffered interpretation of the phrase “biometric identifier”—

ignore the plain language of the definition the legislature expressly provided in the statute. In

short, courts are not free to create their own definition when BIPA already defines the term.

Samsung’s motion to dismiss should be denied.



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Dated: July 1, 2024
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                                       MADAY, MARK HEIL, ALLISON THURMAN, AND
                                       SHERIE HARRIS, individually and on behalf of all
                                       others similarly situated, Plaintiffs

                                       By: /s/ Theodore H. Kuyper

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 1, 2024, I caused a copy of the foregoing Plaintiffs’ Response
to Defendants’ Notice of Supplemental Authority (ECF No. 75) to be served upon all counsel of
record via electronic filing using the CM/ECF system.


                                                       /s/ Theodore H. Kuyper




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